 

Case 8-18-77221-reg Doc 1 Filed 10/25/18 Entered 10/25/18 16:34:12

      

Fi|l in this information to identify your case:

    

Un;ited States Bankruptcy Court for the:

Ea|stern Distn'ct of New York

liiiii Uil 25 U.=
Case number (irknown); Chapter you are filing under: w p 2 vi
Chapter7
\;l Chapter11 ""j_i; .:" ja j"j 1 g§: §
ClChapter12 1 P`¢EL»\J§:»EVE“D m - _ _ _
g Chapter 13 § ~Check if this is an
` amended filing

 

 

Q'rficial Form 101
Vo|untary Petition for lndividua|s Fi|ing for Bankruptcy 12/11

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
De'l|)torZ to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms. - `

Be as complete and accurate as possible. lf two married people are filing together,‘ both are equally responsible for supplying correct
infonnation. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(if _l nown). Answer every question.
mdentify Yourself
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name '
Write the name that is on your
. . Hoiiy
govemment-issued picture _ , _
identification (for example, F"st name F’rst name
your dn'ver's license or .
' passport). Midd|e name Middle name
» Bring your picture Kra]esk'
identification to your meeting Last name . Last name
with the trustee.
Sufnx (Sr., Jr., ll, lll) Suffix (Sr., Jr., ll, lll)
2. Al| other names you
have used in the last 8 Fi,st name Fi,s, name
years
\ lnc|ude your married or Middle name n Mlddle name
maiden names.
Last name Last name
First name First name
Middle name ‘ ' Middle name
i Last name Last name
i .
|
i
3. , Only the last 4 digits of
'§yourSocialSecurity XXX " XX”-LL--A'_-S_ xXX “ XX"__-_-_-
j number or federal oR - 0R
' lndividual Taxpayer '
5 ldentification number 9 Xx ' XX "_ __ ___ __ 9 XX _ XX ___ _ _ __
l (lT|N)

 

 

 

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4. Any business names
and Employer
identification Numbers
(ElN) you have used in
the last 8 years

include trade names and
doing business as names

l have not used any business names or EiNs.

Dei:|tor 1 Hol|y Kra-lesk| Case number (ifknawm
First Name Middle Name Last Name
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

n l have not used any business names or Ele.

 

Business name

 

Business name

 

Business name

E_lN_

EI_N_

 

Business name

E_iN'_

EN_

 

5. Where you live

160 Mount Siani Coram Road

|f Debtor 2 lives at a different address:

 

 

 

 

 

 

 

 

Number Street Number Street

Coram NY 1 1 727

City State ZlP Code City State ZlP Code
County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

lf Debtor 2’s mailing address is different from
yours, fill it in here.' Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZlP Code City State ZlP Code
6. Why you are choosing Check one.' Check one.'

\ this district to file for
, bankruptcy

 

m 0ver the last 180 days before filing this petition,
l have lived in this district |ongerthan in any
other district.

n i have another reason. Exp|ain.
(See 28 U.S.C. § 1408.)

 

 

 

 

l:\ Over the last 180 days before ming this petition,
i have lived in this district longer than in any
other district.

n i have another reason. Exp|ain.
(see 23 u.s.c. § 1408.)

 

 

 

 

 

 

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Debtor 1 Ho"y Kra]eski Case number (iri¢nown)
First Name Midd]e Name Last Name
Tell the Court About Your Bankruptcy Case
7. The chapter of the Check one. (For a brief description of each, see Nofice Required by 11 U.S.C. § 342(b) for individuals Filing

|Bankruptcy Code you
are choosing to file
under

for Bankruptcy (Fomi 2010)). Also, go to the top of page 1 and check the appropriate box.

m Chapter 7

l;l Chapter 11
Cl Chapter 12
Cl Chapter 13

 

m l will pay the entire fee when l file my petition. Please check with the clerk’s office in your

 

 

 

 

 

 

 

 

 

l How you will pay the fee
local court for more details about how you may pay. Typically, if you are paying the fee
yourselfl you may pay with cash, cashiers check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
Cl l need to pay the fee in installments if you choose this option, sign and attach the
Application for lndividuals to Pay The Filing Fee in /nstallments (Ofiicial Form 103A).
n l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By lawl a judge mayl but is not required to, Waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this optionl you must fill out the Applicati`on to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and tile it with your petition.
s. ' Have you filed for m NO
' bankruptcy within the
last 8 years? n Yes. District ______When ____ Case number ___'__
MM/ DD /YYYY
District When Case number
Mivi/ DD /YYYY
District When Case number
MM/ Do /YYYY
10. Are any bankruptcy m No
cases pending or being
filed by a Spouse who is n Yes. Debtor Relationship to you
not filing this ca_se with District When Case number, if known
you, or by a business MM l DD /YYYY
partner, or by an
affiliate?
Debtor Reiationship to you
District When Case number, if known
iviivi l oD /YYYv
11 D° _y°ll rent your M No. co m line 12.
res'den°e? n Yes. Has your landlord obtained an eviction judgment against you?

 

 

‘Ofticial Form 101

m No. Go to line 12.

a Yes. Fill out Initial StatementAb`out an Eviction Judgmeangainst You (Form 101A) and file it as
part of this bankruptcy petition.

 

 

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Debtt|)r 1 HO"y Kl`&jeSKl Case number (rfknawni
| Fiisi Name Miirdie Name Last Name

m:eport About Any Businesses You Own as a Sole Proprietor

 

12. f|Are you a sole proprietor al No_ Go to Part 4_
of any full- or part-time
business? n Yes. Name and location of business

;/l-\ sole proprietorship is a
lbusiness you operate as an
lndividuall and is not a
separate legal entity such as

co oration, artnershi ,or
'ELC_m p p Number Street

 

Name of business, if any

 

|f you have more than one
§|soie proprietorship, use a
' separate sheet and attach it
to this petition.

 

 

City State ZlP Code

Check the appropriate box to describe your business:

E\ Heaith Care Business (as defined in 11 U.S.C. § 101 (27A))
a Single Asset Real Estate (as defined iri 11 U.S.C. § 101 (51B))
l:l Stockbroker (as defined in 11 U.S.C. § 101 (53A))

n Commodity Broker (as defined in 11 U.S.C. § 101 (6))

n None of the above

 

13.` Are you filing under lf you are filing under Chapter 11, the court must know Whether you are a small business debtor so that it

, Chapter 11 of the can set appropriate deadlines. if you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor? m No l am not filin under Cha ter 11

For a definition of small ` g p '

bus'”e$$ debtor, See n No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
11 L-l-S-C- § 101(51|3)- the Bankruptcy Code.

 

cl Yes. l am Hling under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

mReport if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any m No
property that poses or is _
alleged to pose a threat n Yes. What is the hazard'?

 

' of imminent and
identifiable hazard to

 

public health or safety?
, Or do you own any

' property that needs if immediate attention is needed, why is it needed?

 

immediate attention?
- For example, do you own

 

, perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

Where is the property?

 

Number Street

 

 

 

 

l City State ZlP Code

 

 

 

 

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|
l
l
l

 

Holly

First Name

Debtor 1

 

Middle Name

Kraieski

Last Name

m:p|ain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

"|l'he law requires that you
leceive a briefing about credit
counseling before you file for
ibankruptcy. You must
truthfully check one of the

. lfollowing choices. if you
:|cannot do so, you are not
eligible to file.

; if you file anyway, the court
"can dismiss your case, you

, will lose whatever filing fee
.you paid, and your creditors
’can begin collection activities
again.

 

 

About Debtor 1:

You must check one.'

l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and i received a
certificate of completion.

Attach a copy of the certificate and the payment
planl if any, that you developed with the agency.

n i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST me a copy of the certificate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days afteri made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirementl attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about
credit counseling because of:

n lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

n Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after l
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling. you must file a
motion for waiver of credit counseling with the court.

 

pmcial Form 101

Case number (irknnwm

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About Debtor 2 (Spouse Only in a Joint Case):

You must check one.'

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

L_.l l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, butl do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

a l certify that i asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after| made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcyl and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about
credit counseling because of:

n lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

n Disability. My physical disability causes me
to be unable to participate in a
briefing in personl by phone, or
through the intemet, even afteri

reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

 

 

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oebi >r 1 HO"V Kraieski
First Name Miditle Name Last Name

m Answer These Questions for Reporting Purposes

16a Are your debts primarily consumer debts? Consumer debts are denned in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personai, family, or household purpose.”

El No.ootoline1sb.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

Case number (iri<nownl

 

16. What kind of debts do
you have?

m N_o. Go to line 16c.
m Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

 

17. Are you filing under

iChapter 7?

iDo you estimate that after m Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
'any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

m No. l am not filing under Chapter 7. Go to line 18.

excluded and m No
administrative expenses
are paid that funds will be m Yes

l available for distribution
, to unsecured creditors?

 

 

 

 

Ei $500,001-$1 million

El $100,000,001-$500 million

ia. How many creditors do El 1-49 Cl 1,000-5,000 El 25,001-50,000
§ ' you estimate that you Ei 50-99 El 5,001-10,000 Ei 50,001-100,000
°We'-’ El 100-199 El 10,001-25,000 U l\rloreiban100,000
Ei 200-999
19. How much do you - El $0_$50,000 D $1,000,001-$10 million El 3500,000,001-$1 billion
' estimate your assets fo El $50,001-$100,000 Ei $10,000,001-$50 million El $1,000,000,001-$10 billion
be W°"*h? m $100,001-$500,000 Ei $50,000,001-$100 million Ci $10,000,000,001-$50 billion

m iVlore than $50 billion

 

20. How much do you
estimate your liabilities
to be?

mo Below

 

Ei $0-$50,000

Cl $50,001-$100,000
m $100,001-$500,000
El $500,001-$1 million

Ci $1,000,001-$10 million

El $10,000,001-$50 million
D $50,000,001-$100 million
Ei $100,000,001-$500 million

El $500,000,001-$1 billion

El $1,000.000,001-$10 billion
Ei $10,000,000,001-$50 billion
El lvioro than $50 billion

 

oryou

 

official Fonn 101

l have examined this petition, and l declare under penalty of peq'ury that the information provided is true and

correct.

if l have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11l United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case carl result in fines up to $250,000l or imprisonment for up to 20 years, or both.

 

18 U.S.C § 1 ,1341. 1519, and 3571.
', .
xd irb/oeo x
§ignatu@ei)toi y

Executed on ' / g
M l DD /YYYY

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Signature of Debtor 2

Executed on ___
MM/ DD /YYYY

 

. CaS€ 8-18-77221-r€g DOC 1 Filed 10/25/18 Entel’ed 10/25/18 16234:12

Debt:)r 1 Holly Kraieskl Case number (irknnwnl
First Name Middie Name Last Name

 

 

F tt .f l, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
or your a omey’ l you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

 

represented by one available under each chapter for which the person is eligib|e. l also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that i have no
if you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attomey, you do not
need to file this page. x
Date
Signature of Attorney for Debtor MM l DD l YYYY

 

Printed name

 

Firrn name

 

Number Street

 

 

 

 

City State ZlP Code
Contact phone Email address ____
l Bar number State

 

 

 

l
l
foicial Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 7

 

 

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Debtor 1 Holly Krajeski Case number (irlmowm
First Name Mlddle Name Last Name
For you if you are filing this The law allows youl as an individuall to represent yourself in bankruptcy court, but you
bar\|kr\lptey WithUt an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attomey.

lf you are represented by
an 'attomey’ you do not To be successfull you must correctly file and handle your bankruptcy case. The rules are very

nee d to me this page_ l technicall and a mistake or inaction may affect your rights. For example, your case may be

z dismissed because you did not file a required documentl pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. |f that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. lf you do not list a debt, the debt may not be discharged. lf you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
casel such as destroying or hiding propertyl falsifying recordsl or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accuratel truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

 

lf you decide to file without an attomey, the court expects you to follow the rules as if you had
hired an attomey. The court will not treat you differently because you are filing for yourse|f. To be
successfull you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
l consequences?

n No
m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incompletel you could be fined or imprisoned?

m No

m Yes

Did you pay or agree to pay someone who is not an attorney to help you till out your bankruptcy forms?
w No

n Yes. Name of Person .
Attach Bankruptcy Pefltion Preparefs Notice, Declaration, and Signature (Officia| Form 119).

 

By signing here, | acknowledge that l understand the risks involved in filing without an attomey. |
have read and understood this noticel and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

x<né/MM” x

 

 

 

 

 

 

 

S`i'gnatur;:)f Signature of Debtor 2
l Date Date
. MM / DD /YYYY
5 Contact phone Contact phone v
l _ ' _ _
; cell phone q l g {@q(”' z ?"" 310 cell phone
l Email address Email address

   

 

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Bank of America
100 N. Tryon Street
Charlotte, NC 28255

